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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

DELLA GOINES,

Plaintiff,
Vv.

THE CIT GROUP, FINANCE,
ASSIGNOR, SELENE FINANCE LP,
ASSIGNEE, MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.
(MERS) SOLELY AS NOMINEE FOR
CIT GROUP/CONSUMER FINANCE,
INC., MORTGAGE ELECTRONIC
SYSTEMS INC. (MERS) ACTING
SOLELY AS NOMINEE FOR SRMOF
2009-1TRUST,

Defendants.

Pending is Plaintiff Della

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ORDER

CIVIL ACTION NO. 4:11-03287

Goines’s application for a

Temporary Restraining Order (Document No. 13). Plaintiff states

that notice of this application was given to the other parties.?

Plaintiff conclusorily asserts that “based on the sensitive issues

at hand an Injunction and TRO should be granted to prevent

irreparable damages.”?

* Document No. 13 at 2.

2 Id. at 1.
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The Court may issue a temporary restraining order only if
“specific facts in an affidavit or a verified complaint clearly
show that immediate and irreparable injury, loss, or damage will
result to the movant before the adverse party can be heard in
opposition.” FED. R. Civ. P. 65(b). In order to obtain preliminary
injunctive relief a plaintiff must establish four elements:
(1) a substantial likelihood of success on the merits; (2) a
substantial threat that the movant will suffer irreparable injury
if the injunction is denied; (3) that the threatened injury
outweighs any damage that the injunction might cause the non-
movant; and (4) that the injunction will not disserve the public

interest. Sugar Busters LLC v. Brennan, 177 F.3d 258, 265 (5th

Cir. 1999) (citing Hoover v. Morales, 164 F.3d 221, 224 (Sth Cir.

1998)). If any one of these four elements is lacking, the party

seeking the injunction cannot prevail. See Interox America v. PPG

Indus., Inc., 736 F.2d 194, 198 n.2 (5th Cir. 1984). The decision

to grant or deny preliminary injunctive relief is left to the sound

discretion of the district court. Miss. Power & Light Co. v.

United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985). Such

relief is an extraordinary remedy which should be granted only if
the movant has clearly carried its burden of persuasion on all of

the four factors. Id.; Allied Mktg. Grp., Inc. v. CDL Mktg., Inc.,

878 F.2d 806, 809 (5th Cir. 1989) (citations omitted) .

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Plaintiff’s application is neither verified nor supported by
an affidavit, such as is required for the issuance of a TRO.
Moreover, Plaintiff pleads no facts to support the issuance of a
TRO or preliminary injunction. A mere conclusory statement that
“an Injunction and TRO should be granted to prevent irreparable
damages,”*? even if verified, is wholly inadequate to satisfy the
strict requirements for issuance of either a TRO or a preliminary
injunction. Accordingly, it is

ORDERED that Plaintiff's application for a temporary
restraining order, or a preliminary injunction (Document No. 13),
is DENIED.

The Clerk will enter this Order and send copies to all parties

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SIGNED at Houston, Texas on this 4 | day of November, 2011.

of record.

NG WERLEIN, JR.

UNIT TATES DISTRICT JUDGE

3 Document No. 13 at 1.

